                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                          Case No. 1:24-cv-805

LARRY CHAVIS,                       )
                                    )
Plaintiff,                          )
                                    )
       v.                           )
                                    )
 THE UNIVERSITY OF NORTH CAROLINA –
                                    )
 CHAPEL HILL and MARY MARGARET
 FRANK, in her individual capacity, )
                                    )
Defendants.                         )
___________________________________ )


      Plaintiff Larry Chavis and Defendants the University of North Carolina

– Chapel Hill and Mary Margaret Frank, in her Individual Capacity, by and

through their undersigned counsels of record, submit this Joint Local Civil

Rule 5.5 Report for the filing of sealed documents.

      1.     Pursuant to Fed. R. Civ. P. 26(f) and Local Civil Rule 5.4(b)(1), a

meeting was held on June 13, 2025, via telephone, and was attended by P.

Sunny Panyanouvong-Rubeck for Plaintiff, and Jeremy D. Lindsley for

Defendant.

      2.     Conference:   The    parties   have    discussed       the   issues    of

confidentiality raised in this case and the potential need for filing documents

under seal. That discussion included the nature of any confidential documents

that may be involved in the case, the possibility of using stipulations to avoid




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the need to file certain documents, and the possibility of agreed-upon

redactions of immaterial confidential information in filings to avoid the need

for filing documents under seal.

      3.    The parties certify that few, if any, documents will be filed under

seal. The parties agree to use the default procedures of Local Civil Rule 5.4(c).

In addition, if the party filing the motion to seal is not the party claiming

confidentiality, the filing party must meet and confer with the party claiming

confidentiality as soon as practicable, but at least two (2) days before filing the

documents, to discuss the filing party’s need to include confidential

information in the filing, narrowing the claim of confidentiality, or otherwise

avoiding the need to file under seal. The motion to seal must certify that the

required conference has occurred, and the party claiming confidentiality must

file supporting materials required by LR 5.4(c)(3) within 14 days of the motion

to seal.


Dated: June 13, 2025.


                                      HKM Employment Attorneys LLP

                                      By: /s/Sunny Panyanouvong-Rubeck
                                      P. Sunny Panyanouvong-Rubeck
                                      N.C. State Bar No.: 39966
                                      3623 Latrobe Drive, Unit 122
                                      Charlotte, NC 28211
                                      Telephone: 980-734-3851
                                      Fax: 980-734-3851




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                              E-mail: spanyanouvong-rubeck@hkm.com

                              Artur Davis
                              Alabama State Bar No.: ABS-3672-D56A
                              2024 3rd Avenue, North Suite 307
                              Birmingham, AL 35203
                              Telephone: 205-881-0935
                              E-mail: adavis @hkm.com

                              Attorneys for Plaintiff

                              By: /s/Lindsay Vance Smith
                              Lindsay Vance Smith
                              Assistant Attorney General
                              N.C. State Bar No.: 26235
                              NC Department of Justice
                              P.O. Box 629
                              Raleigh, NC 27602
                              Telephone: 919-716-6920
                              Fax: 919-716-6764
                              E-mail: jlindsley@ncdoj.gov

                              Attorney for Defendants




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                        CERTIFICATE OF SERVICE

      I certify that I have this 13th day of June, 2025 electronically filed the

foregoing with the Clerk of Court using the CM/ECF system which will send

notification of such filing to all counsel and parties of record.




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